     Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 1 of 27 PageID #:43




                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )         Case No. 21 CR 665
                                              )
       v.                                     )         Judge Matthew F. Kennelly
                                              )
ALFREDO VIVEROS-CHAVEZ,                       )
                                              )
               Defendant.                     )
                                              )

     DEFENDANT’S MOTION TO DISMISS INDICTMENT DUE TO THE
 UNCONSTITUTIONALITY OF 8 U.S.C. §1326 UNDER THE EQUAL PROTECTION
               CLAUSE OF THE FIFTH AMENDMENT

       NOW COMES the Defendant, ALFREDO VIVEROS-CHAVEZ, by and through his

attorney, CARLA I. ESPINOZA, and pursuant to Fed. R. Crim. P. 12(b) and the Equal

Protection Clause of Fifth Amendment to the U.S. Constitution, respectfully moves this

Honorable Court to dismiss his indictment and, in support thereof, states as follows:

                                       INTRODUCTION

       The statute criminalizing illegal reentry, 8 U.S.C. §1326, violates the Equal Protection

Clause of the Fifth Amendment to the U.S. Constitution because it was originally enacted with

discriminatory intent and it has a disparate impact on Mexican and Latin(x)1 individuals. When a

law discriminates on the basis of race it is subject to strict scrutiny. Hunt v. Cromartie, 526 U.S.



       1
         The term Latinx refers to a person of Latin American origin or descent, particularly those
living in the United States. The term is gender neutral but used as a substitute for the masculine,
feminine, non-binary, singular and plural forms of the word Latin in the Spanish pronunciation.
See https://www.dictionary.com/browse/latinx (Last visited February 7, 2022).

                                                  -1-
     Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 2 of 27 PageID #:44




541, 546 (1999); Shaw v. Hunt, 517 U.S. 899, 904 (1996) (Shaw II); Miller v. Johnson, 515 U.S.

900, 904–905 (1995); Adarand Constructors, Inc. v. Peña, 515 U.S. 200, 227 (1995). A law

that is enacted with a discriminatory intent or purpose and which disparately impacts a particular

racial group is unconstitutional under the standard set forth in Arlington Heights. Vill. of

Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 266, 97 S. Ct. 555, 564, 50 L. Ed.

2d 450 (1977). A determination of whether a law was enacted with invidious discriminatory

intent or purpose requires a “sensitive inquiry into such circumstantial and direct evidence of

intent as may be available.” Arlington Heights, 429 U.S. at 266. The main relevant factors are

“disproportionate impact, the historical background of the challenged decision, the specific

antecedent events, departures from normal procedures, and contemporary statements of the

decisionmakers.” Id. at 263.

       The indictment in this case charges the Defendant with illegal reentry by a deported alien

in violation of 8 U.S.C. §1326(a) & (b). (ECF No. 10). Defendant will show that Section 1326

was originally enacted with a discriminatory intent through historical background, sequence of

events leading up to the enactment, and legislative history including statements by members of

the decisionmaking body. The 1920s was a period when support for white supremacy and

eugenics ran rampant; “the Ku Klux Klan was reborn, Jim Crow came of age, and public

intellectuals preached the science of eugenics.” See Proposed Expert Declaration of Dr.

Hernandez p.1, attached hereto as Exhibit A. Non-white immigrants were perceived as

undesirable and inferior, and many politicians sought to “restrict and even end immigration to the

United States from every region of the world other than western Europe.” Id. It was during this

time that Congress passed the original illegal reentry law–the Undesirable Aliens Act of 1929


                                                 -2-
     Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 3 of 27 PageID #:45




(hereinafter the “Act of 1929") in an effort to ensure that Mexican agricultural workers would not

remain in the United States after their work was done and, if so, they would be subject to

deportation and criminal prosecution.2 Defendant will further show that since its original

enactment, Section 1326 has had a disparate impact on Mexican and Latinx individuals.

Although Section 1326 is a reenactment of the Act of 1929, recent Supreme Court precedent

establishes that later reenactments do not cleanse a law of the racial motivations that fueled the

original law; when a court determines that a law’s “original enactment was motivated by a desire

to discriminate . . . on account of race and the section continues to this day to have that effect,”

the court must conclude that the law “violates equal protection under Arlington Heights.” Hunter

v. Underwood, 471 U.S. 222, 233 (1985).

       Because a motivating factor for the original enactment of Section 1326 was racial

discrimination and the law continues to have a racially disparate impact, it is presumptively

unconstitutional under the Equal Protection Clause of the Fifth Amendment as argued below.

                                           ARGUMENT

       A.      Arlington Heights Controls This Constitutional Challenge.

       Mr. Viveros can demonstrate that a motivating factor for the original enactment of

Section 1326 was racial discrimination under the Supreme Court’s precedent in Arlington

Heights. Under Arlington Heights, a facially neutral law violates Equal Protection if (1) it was

enacted with a racially discriminatory intent or purpose, and (2) it has a racially disparate impact.



       2
          It is important to note that the original enactment of the illegal reentry law was so tainted
with racial animus that even its title- Undesirable Aliens Act of 1929 - denotes a racially
discriminatory intent. Immigrants were derogatorily referred to as “aliens,” a term which appears
in the illegal reentry statute even today. See 8 U.S.C.A. § 1326 (a).

                                                  -3-
     Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 4 of 27 PageID #:46




Arlington Heights, 429 U.S. at 265. “Determining discriminatory intent requires a ‘sensitive

inquiry into such circumstantial and direct evidence of intent as may be available,’ including, but

not limited to: ‘[t]he historical background of the decision’; ‘[t]he legislative or administrative

history’; ‘[t]he specific sequence of events leading to the challenged action’; ‘[d]epartures from

normal procedural sequence’; or whether the impact of the law ‘bears more heavily on one race

than another.”’ United States v. Carrillo-Lopez, No. 320 CR 26, 2021 WL 3667330, at *4 (D.

Nev. Aug. 18, 2021)(citing to Arlington Heights, supra, 429 U.S. at 266-268). While not

exhaustive, these factors constitute the “proper inquiry in determining whether racially

discriminatory intent existed.” Arlington Heights, 429 U.S. at 268.

       Under Arlington Heights, the challenger need not show that the “challenged action rested

solely on racially discriminatory purposes.” Id. at 265. Legislatures are rarely “motivated solely

by a single concern,” and the challenger need only show “proof that a discriminatory purpose has

been a motivating factor” in the passage of the law. Id. (emphasis added). Once the challenger

meets this low threshold, the government must prove that “the same [law] would have resulted

even had the impermissible purpose not been considered.” Id. at 270. If the government fails to

do so, the court must find that the law violates the Equal Protection guarantee of the Fifth

Amendment and, thus, is unconstitutional.

       For decades, courts have applied the Arlington Heights framework to assess facially

neutral laws enacted with a discriminatory purpose that have disparately impacted particular

groups. See Hunt v. Cromartie, 526 U.S. 541, 546 (1999). For example, in Hunter v. Underwood,

471 U.S. 222 (1985), a facially neutral Alabama law barring voting for any person convicted of a

“crime involving moral turpitude” was found to be unconstitutional under Arlington Heights


                                                 -4-
     Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 5 of 27 PageID #:47




because it disenfranchised significantly more blacks than whites. Hunter, 471 U.S. at 227. The

Supreme Court reviewed transcripts of the law as well as historical studies and expert

testimonies, and it found that because the provision “would not have been adopted by the

convention or ratified by the electorate in the absence of the racially discriminatory motivation,”

the law violated equal protection. Id. at 229-31.

       Even later reenactments of a law which was originally motivated by a discriminatory

purposes have been found to violate equal protection under Arlington Heights, especially when

the reenactment continues to produce the intended discriminatory effect. See Hunter, 471 U.S. at

233. In Ramos, the Supreme Court held that recodification does not cure the laws’ original

animus. Ramos, 140 S. Ct., at 1401 n.44. Similarly, the Supreme Court established in Hunter that

a law that has been serving a legitimate purpose for decades can still be struck down under

Arlington Heights if it was originally motivated by discriminatory purpose and continues to have

disparate impact. See Hunter, 471 U.S. at 233.

       Lastly, the Arlington Heights framework is especially necessary when the government

seeks to “punish by deprivation of liberty and property,” even when the subject is a non-citizen.

See Wong Wing v. United States, 163 U.S. 228, 237, 16 S.Ct. 977, 41 L.Ed. 140 (1896)(holding

that “even aliens should not be held to answer for a capital or other infamous crime, unless on a

presentment or indictment of a grand jury, nor be deprived of life, liberty, or property without

due process of law”). Here, Mr. Viveros is facing the deprivation of his liberty.

       Consequently, Mr. Viveros challenges the constitutionality of Section 1326 by

challenging the Act of 1929, the original illegal reentry law from which Section 1326 was

derived. Mr. Viveros will demonstrate throughout this motion that (1) the Act of 1929 was


                                                 -5-
     Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 6 of 27 PageID #:48




enacted with a discriminatory intent; (2) the Act of 1929 disparately impacted Hispanic and

Latinx communities; (3) Section 1326 is a continuation of the Act of 1929 and is tainted by the

discriminatory purpose of its predecessor; (4) the 1952 reenactment of the illegal reentry statute,

Section 1326, was also motivated by racial animus; and (5) Section 1326 has been disparately

impacting Mexican and Latinx communities.

        B.      The Original Illegal Reentry Law Was Enacted With Discriminatory Intent.

        In Arlington Heights, the Supreme Court of the United States provided four relevant

factors for determining whether a challenged law was enacted with a discriminatory intent.

Arlington Heights, 429 U.S. at 253. These non-exhaustive factors include (1) the historical

background surrounding the law, (2) the law’s legislative history, (3) the specific sequence of

events leading to the challenged law as well as departures from the normal procedure, and (4)

whether the law bears more heavily on one race than another. Id. at 266-68. Under the Arlington

Heights framework, the challenger need only demonstrate that the discriminatory purpose was a

motivating factor–as opposed to the sole purpose–behind the law. Id. at 265 (emphasis added).

        Section 1326 was directly derived from the Act of 1929. Section 1326 reads as follows,

in relevant part:

                Subject to subsection (b), any alien who--
                (1) has been denied admission, excluded, deported, or removed or
                has departed the United States while an order of exclusion,
                deportation, or removal is outstanding, and thereafter
                (2) enters, attempts to enter, or is at any time found in, the United
                States, unless (A) prior to his reembarkation at a place outside the
                United States or his application for admission from foreign
                contiguous territory, the Attorney General has expressly consented
                to such alien's reapplying for admission; or (B) with respect to an
                alien previously denied admission and removed, unless such alien
                shall establish that he was not required to obtain such advance


                                                 -6-
     Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 7 of 27 PageID #:49




               consent under this chapter or any prior Act, shall be fined under
               Title 18, or imprisoned not more than 2 years, or both.

8 U.S.C.A. § 1326 (a). Section 1326 closely tracks the language of its predecessor, the Act of

1929, which states, in relevant part:

               That (a) if any alien has been arrested and deported in pursuance of
               law, he shall be excluded from admission to the United States
               whether such deportation took place before or after the enactment
               of this act, and if he enters or attempts to enter the United States
               after the expiration of sixty days after the enactment of this act, he
               shall be guilty of a felony and upon conviction thereof shall, unless
               a different penalty is otherwise expressly provided by law, be
               punished by imprisonment for not more than two years or by a fine
               of not more than $1,000 or by both such fine and imprisonment.

Undesirable Aliens Act, Pub. L. No. 70-1018, ch. 690, 45 Stat. 1551 (1929). In fact, Section

1326 adopts portions of its predecessor’s language almost verbatim. United States v. Carrillo-

Lopez, 2021 WL 3667330, 7 (D. Nev. Aug. 18, 2021)(applying Arlington Heights and holding

that Section 1326 violates the Equal Protection Clause because racial discrimination was a

motivating factor in its original enactment). The intent behind the original enactment of the

illegal reentry law bears on whether the current law, Section 1326, is unconstitutional under

Arlington Heights. Accordingly, Mr. Viveros addresses each of the five Arlington Heights

factors in relation to the Act of 1929 and demonstrates that the original illegal reentry law was

enacted with a discriminatory purpose.

       i.      The Historical Background and Specific Sequence of Events Surrounding the
               Enactment of the Act of 1929 Indicate Discriminatory Intent.

       “The historical background of the decision is one evidentiary source, particularly if it

reveals a series of official actions taken for invidious purposes.” Arlington Heights, 429 U.S. at

267; see also Lane v. Wilson, 307 U.S. 268, 59 S.Ct. 872, 83 L.Ed. 1281 (1939). “The specific


                                                -7-
     Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 8 of 27 PageID #:50




sequence of events leading up to the challenged decision also may shed some light on the

decisionmaker's purposes.” Id. at 267; see also Reitman v. Mulkey, 387 U.S. 369, 373-376, 87

S.Ct. 1627, 1629-1631, 18 L.Ed.2d 830 (1967).

        Here, Mr. Viveros presents compelling historical evidence that demonstrates the

discriminatory purpose behind the Act of 1929. The 1920s, referred to by historians as the ‘Tribal

Twenties’, was a time of division and nativism in the United States. This was in large part due to

World War I, which created a “combination of nativism, job scarcity, and anti-Bolshevism that

fueled the politics of restriction;”3 restrictionists “spoke increasingly of ‘racial indigestion,’” and

“the ‘contamination’ of Anglo American society.”4 Eugenics also grew in popularity among

leading intellectuals, and the negative perception of non-white immigrants continued to

strengthen.5 Eugenics even influenced legislation throughout the 1920s; Dr. Harry H. Laughlin,

the then-Director of the Eugenics Record Office, frequented Congress to advise on immigration

legislation and to discuss topics such as “race crossing,” “fecundity,” “mate selection,” and

“racial composition.” The Eugenical Aspects of Deportation: Hearings before the Committee on

Immigration and Naturalization House of Representtive, 70th Cong. 70.1.4, pp. 2, 3 (1928),

attached hereto as Exhibit C. He stated that the job of any government was to “demand fit mating

and high fertility from the classes who are better endowed physically, mentally, and morally by

heredity . . . . Immigration control is the greatest instrument which the Federal Government can


       3
            Mae M. Ngai, Impossible Subjects, 19, 20 (2004 William Chafe, et al.).
        4
            Id. at 23; Kelly Lytle Hernandez, Migra!: A History of the U.S. Border Patrol, 28 (2010).
        5
        See generally Daniel Okrent, The Guarded Gate: Bigotry, Eugenics, and the Law That
Kept Two Generations of Jews, Italians, and Other European Immigrants Out of America
(2019).

                                                  -8-
     Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 9 of 27 PageID #:51




use in promoting race conservation of the Nation.” Ex. B supra, at 19. Dr. Laughlin even

compared drafters of immigration laws to breeders of thoroughbred horses. Ex. C, at 44.

        The Act of 1929, the first of its kind criminalizing illegal reentry, was enacted during a

time when Eugenics heavily influenced Congress. Section 1326 is the recodification of the Act

of 1929. In her attached declaration, Professor Kelly Lytle Hernandez (hereinafter “Professor

Hernandez”) concludes that “the archival record marks the criminalization of unauthorized entry

as a racially motivated act.” Ex A supra at 8.

        The specific sequence of events and laws enacted in the years preceding the Act of 1929

further reinforces the notion that Section 1326 was derived from a law enacted with a

discriminatory purpose. At the turn of the 20th century, nativists and eugenicists had a strong

influence over Congress and had realized a number of victories restricting immigration on the

basis of race.6 Their first major victory came in 1882 with the passage of the Chinese Exclusion

Act, “the first piece of immigration legislation prohibiting immigration based on race.” Proposed

Expert Witness Declaration of Professor Benjamin Gonzalez O’Brien at 2, attached hereto as

Exhibit B. This was followed by the implementation of a literacy test in 1917, which was meant

to prevent the entry of undesirable immigrants primarily from Southern and Eastern Europe, as

well as the creation of an Asiatic barred zone that same year. Ibid. at 2-3. As a result, Asian

immigration was decimated under the false narrative that individuals of Asian descent were a

racial threat to the United States. Ibid. at 3.

        In 1921, Congress passed its very first numerical restriction on immigration. Emergency

Immigration Act of 1921, Pub.L. 67-5, 42 Stat. 5 (1921). Legislators enacted this “emergency”


        6
            Nativism and eugenics are ideologies are now generally referred to as white supremacy.

                                                  -9-
    Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 10 of 27 PageID #:52




restriction hoping for “‘America [to] cease to be a “melting pot.”’ Jia Lynn Yang, One Mighty

and Irresistible Tide: The Epic Struggle Over American Immigration, 2020, 3 (2020) (quoting

Senator David A. Reed). In 1924, Congress passed the National Origins Act of 1924 (hereinafter

the “Act of 1924"), which reserved 96 percent of quota slots for European immigrants, thereby

significantly “narrow[ing] the pathways of legal immigration” to the disadvantage of non-white

immigrants. Carrillo-Lopez, 2021 WL 3667330 at 7. The intent was clearly to prevent

immigrants of color from coming to the United States.

       While the Act of 1924 did not limit the number of immigrants from Mexico, this was

because large agricultural businesses which relied heavily on Mexican labor pressured

legislatures to exempt Mexicans from the act. Ex. A at 57. This exemption resulted in a “pretty

rapid turn to focusing on getting Mexican immigrants included on the quota,” but Congress could

not overcome the protests from “major employers and industries across the west” who were

“concerned that they w[ould] be cut off from access to Mexican workers.” United States v.

Carrillo-Lopez, 2021 WL 3667330 at 7.

       “The nativists [were] furious in Congress.” Ex. A at 5. Representative Madden

complained that the Act of 1924 “leaves open the doors for perhaps the worst element that comes

into the United States–the Mexican peon.”8 Meanwhile, Representative Patrick O’Sullivan

criticized the restrictions on Italian immigrants, stating that “the average Italian is as much


       7
         Until 1910, with the beginning of the Mexican Revolution, Mexican immigration to the
United States had been fairly modest and many Mexican laborers would return to Mexico after
working in the United States. Ex. B at 4. By the 1920s, Mexican immigration to the U.S. had
significantly surged and, thus, nativists began to see Mexicans as a racial threat to the ‘nation’s
‘Aryan’ stock.” Ex. A at 5.
       8
           Benjamin Gonzalez O’Brien, Chap. 1, Handcuffs and Chain Link (2018).

                                                 -10-
    Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 11 of 27 PageID #:53




superior to the average Mexican as a full-blooded Airedale is to a mongrel.” Representative

O’Sullivan, “Administration of the Law.” Congressional Record 65:6 (1924) p. H5900, attached

hereto as Exhibit D. Mexicans were generally referenced with pejorative adjectives used to

describe animals such as dogs, pigeons, or rabbits. Ex. A at 5. Representative Box believed the

“importation” of Mexicans was “raising a serious race question” because Mexicans were

“essentially different from us in character, in social position.” Ex. D at H3619.

        Legislators “proposed bill after bill” to restrict Mexican immigration, but none survived

opposition from the major agricultural and industrial employers. Ex. A at 5. This was largely due

to the promise by prominent nativist agricultural owners in the west of the country, who

otherwise supported the immigration restrictions on non-whites, that Mexican immigration was

temporary in nature and, thus, would not affect the Aryan stock of the nation. For example, S.

Parker Friselle, who was an influential farmer and lobbyist from California, testified before

Congress in January 1926 arguing that Mexicans were not immigrants because “the Mexican

does not remain” and “he always goes back.” Hearings Before the Committee on Immigration

and Naturalization on Seasonal Labor Agricultural Laborers From Mexico (Jan. & Feb.1926) p.

6, attached hereto as Exhibit I; see also Ex. A. at 5. Friselle further testified that “[l]ike the

pigeon [the Mexican] goes home to roost” and, thus, is a “bird of passage.” Ibid. Similarly, in

1928, George C. Clemens, a lobbyist and leader among the California agribusiness owners,

reassured fellow nativists that Mexicans were “swallows” and would never settle in the U.S.

because “his homing instincts take him back to Mexico.” Ex. A at 6. More importantly, Clemens

began to argue that Mexicans “[were] deportable” and thus further restrictions were unnecessary.

Id. Clemens also created an ominous disjunctive for the nativists in Congress, he argued: “I warn


                                                  -11-
      Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 12 of 27 PageID #:54




you. American business has no conscience. If the Mexican is denied us, the [Puerto Rican] negro

will come” so “which do you choose[?]” Id. (emphasis added). Clemens successfully argued that

the Puerto Rican “negro” who was a citizen was the real problem for the racial stock of the

country not, as Clemens put it, Mexico’s deportable birds of passage. Id.

        The nativists in Congress immediately sought to pursue an agenda which would ensure

Clemens’ promise of Mexican laborers as disposable by means of deportation. Consequently,

the nativists eventually proposed to control Mexican migration by criminalizing their unwanted

entries into the U.S. Ex. A at 7. The resulting bill, the Act of 1929, was meant to penalize “aliens

who have been expelled from the United States and who reenter the country unlawfully.” The

Committee on Immigration Report Supporting the Passage of Senate Bill 5094, H. S. Rep. No.

1456, at 1 (1929) attached hereto as Exhibit J. It is the expert opinion of both Professor

Hernandez and Professor O’Brien that the illegal reentry criminal statute was enacted in 1929

with the intent to target individuals of Mexican and Latinx origin . See Ex. A at 8 & Ex. B at 25-

26.

        In 1929, federal, state, and local authorities began a program of Mexican repatriation

which lasted until 1936. Ex. B at 13. “As with the Undesirables Aliens Act, Mexican repatriation

was exclusively focused on Mexicans, legal and illegal, citizen and immigrant, and would result

in an estimated two million Mexicans being ‘repatriated.”’ Id. In 2005, California passed the

“Apology Act for the 1930s Mexican Repatriation Act” which estimates that 60% of those forced

to return to Mexico were American citizens. Apology Act For the 1930s Mexican Repatriation

Program, attached hereto as Exhibit Q. The Apology Act formally acknowledges that the raids

“targeted persons of Mexican ancestry” even when they were U.S. citizens or lawful permanent


                                                -12-
    Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 13 of 27 PageID #:55




residents. Id. Simply put, over a million American citizens were forcibly removed to Mexico

because of their race.

       The open support for racism, white supremacy, and eugenics in the 1920s and the

sequence of racist laws before and after the enactment of the Act of 1929 demonstrate that a

discriminatory purpose was a motivating factor for its enactment.

       ii.     Legislative History of the Act of 1929 and Contemporary Statements of its
               Drafters and Proponents Indicate That the Law Was Enacted With a
               Discriminatory Purpose.

       Another Arlington Heights factor courts examine to identify discriminatory intent is the

law’s legislative history. Arlington Heights, 429 U.S. at 268. “The legislative or administrative

history may be highly relevant, especially where there are contemporary statements by members

of the decisionmaking body, minutes of its meetings, or reports.” Arlington Heights, 429 U.S. at

268; see also City of Cuyahoga Falls v. Buckeye Cmty. Hope Found., 538 U.S. 188, 196-97, 123

S.Ct. 1389, 155 L.Ed.2d 349 (2003) (“[S]tatements made by decisionmakers or referendum

sponsors during deliberation over a referendum may constitute relevant evidence of

discriminatory intent in a challenge to an ultimately enacted initiative.”); Congregation

Rabbinical Coll. of Tartikov, Inc. v. Vill. of Pomona, 945 F.3d 83, 111 (2d Cir. 2019)

(“[E]vidence [of discriminatory purpose] may include the series of events leading up to a ...

decision, the context in which the decision was made, ... [and] statements made by the

decisionmaking body ....”) (internal quotation marks omitted); Cook Cty., Illinois v. Wolf, 461 F.

Supp. 3d 779, 788 (N.D. Ill. 2020), motion to certify appeal denied, No. 19 C 6334, 2020 WL

3975466 (N.D. Ill. July 14, 2020)(relying on statements by President’s advisors and officials to

find plausible that “DHS issued the [immigration] Rule knowing and intending that it would


                                               -13-
    Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 14 of 27 PageID #:56




have a disproportionate negative impact on nonwhite immigrants”).

        In 1928, Laughlin was again called to testify before Congress at a hearing titled “The

Eugenical Aspects of Deportation.” Ex. B at 9. Laughlin testified that ‘“deportation is the last

line of defense against the contamination of American family stocks by alien heredity

degeneracy.”’ Id. Congress relied heavily on Laughlin’s testimony to criminalize illegal entry

and reentry a year later. Id.

        The drafters and primary proponents of the Act of 1929 were Secretary of Labor James

Davis and Senator Coleman Blease, both of whom were avid supporters of eugenics and white

supremacy.9 Secretary Davis often referred to Mexican immigrants as “rat type” or “rat men,”

and he believed Mexicans were jeopardizing the American gene pool.10 Meanwhile, Senator

Blease was a suspected Ku Klux Klan member who shared Secretary Davis’s animosity toward

non-white immigrants.11 Together, Secretary Davis and Senator Blease developed a law that

would criminalize border crossing, rather than directly prevent it.12 This way, non-white

immigrants could be expelled after the growing season was over, and major agricultural




        9
            See Hans P. Vought, The Bully Pulpit, 179 (2004).
        10
             Id. at 174-175.
        11
         For biographical and historical context about Senator Blease, see B. Simon, The appeal
of Cole Blease of South Carolina: Race, Class, and Sex in the New South, The Journal of
Southern History, 62:1, pp. 57-86 (Feb. 1996), available at
http://www.jstore.com/stable/2211206.
        12
        Ian MacDougall,, Behind the Criminal Immigration Law: Eugenics and White
Supremacy, ProPublica (June 19, 2020), https://www.propublica.org/article/behind-the-criminal-
immigration-law-eugenics-and-white-supremacy.

                                                 -14-
    Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 15 of 27 PageID #:57




employers would not be adversely impacted.13 Many of the agricultural employers were in

agreement; one said, “[w]e, in California, would greatly prefer some set up in which our peak

labor demands might be met and upon the completion of our harvest these laborers returned to

their country.” Ex. A at 7.

          Other proponents of the Act of 1929 were Representatives John C. Box and Albert

Johnson. Representative Box firmly believed that the purpose of immigration laws was to

protect “American racial stock from further degradation or change through mongrelization.”

Congressional Record, (Feb. 9, 1928) pp. H2817-18, attached hereto as Exhibit G. In one

speech, Rep. Box stated as follows:

                     The Mexican peon is a mixture of Mediterranean-blooded Spanish
                     peasant with low-grade Indians who did not fight to extinction but
                     submitted and multiplied as serfs. Into that was fused much negro
                     slave blood . . . . The prevention of such mongrelization and the
                     degradation it causes is one of the purposes of our [immigration]
                     laws.

Ibid. Representative Johnson also shared a similar view on immigration; he was an “energetic

and vehement racist and nativist” who headed the Eugenics Research Association, an

organization that supported forced sterilizations and opposed interracial marriage. Dennis

Wepman, Immigration: From the Founding of Virginia to the Closing of Ellis Island, p. 242-43

(2002).

          In January of 1929, Senator Blease presented the Act of 1929 on the Senate floor, and it

passed with little to no discussion or debate. Congressional Record (Jan. 23, 1929) at p. S2092,

attached hereto as Exhibit K. When the Act of 1929 was debated before the House, many



          13
               Id.

                                                    -15-
    Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 16 of 27 PageID #:58




members expressed hostility toward Mexican immigrants, often referring to them derogatorily as

“hordes.” For example, Representative Thomas L. Blanton complained that Mexicans “come into

Texas by hordes” and that “my friend Judge Box has been making a just fight against this

situation for years.” Congressional Record (Feb. 16, 1929) at p. H3619 attached hereto as

Exhibit D. He then challenged his colleagues to visit the international ports of entry in Texas to

see the “hordes that come across the bridges with no intention of ever going back.” Id.

Representative Blanton urged the House to “apprehend the thousands of these Mexicans who are

in Texas now unlawfully and put them back across the Rio Grande and keep them there.” Id.

Other supporters within the House made outright racist remarks; Representative Fitzgerald stated

that, from a “moral standpoint,” Mexicans were “poisoning the American citizen” because they

are “of a class” that is “very undesirable.” Id. at p. H3620.

       Thus, the racist ideologies and remarks of the drafters and supporters of the Act of

1929–and their explicitly discriminatory reasoning for drafting and supporting said law–indicate

that discriminatory purpose was, at the very minimum, a motivating factor behind the enactment

of the Act of 1929.

       iii.    The Act of 1929 Was Enacted in the Midst of Congress’s Departures From
               Normal Procedural Sequence.

       “Departures from the normal procedural sequence also might afford evidence that

improper purposes are playing a role.” Arlington Heights, 429 U.S. at 267. For example,

procedural irregularity could suggest discriminatory intent. Pac. Shores Properties, LLC v. City

of Newport Beach, 730 F.3d 1142, 1164 (9th Cir. 2013).

       The debates relating to the Act of 1929 revolved exclusively around Mexican immigrants,



                                                 -16-
    Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 17 of 27 PageID #:59




when in fact, Canadians were entering the United States in comparable numbers. See Ex. D at p.

H3621 (in 1928, 81,506 Canadians entered the United States). The inconsistency in the

legislators’ discussion of Mexicans and Canadians is a departure from the legislative procedure

which demonstrates that Congress was not concerned with the manner of entry as much as the

race of the immigrants coming to the U.S. Thus, the primary goal of the legislators was to

prevent the entry of Mexican immigrants due to their race.

       Moreover, the Act of 1929 was passed during the first and only period in American

history when Congress openly relied on eugenics when enacting immigration legislation. For

example, in the late 1920s, the House committee held a hearing on “The Eugenical Aspects of

Deportation,” and the principal witness was Dr. Laughlin, the well-known eugenicist referenced

above. At the hearing, Dr. Laughlin shared his report, the goal of which was to “protect

American blood from alien contamination.” The Eugenical Aspects of Deportation: Hearings

before the Committee on Immigration and Naturalization House of Representative, 70th Cong.

70.1.4, pp. 2, 3 (1928), attached hereto as Exhibit C. Both the Act of 1924 and the Act of 1929

were heavily influenced by Dr. Laughlin’s beliefs that immigration control was akin to horse

breeding. Id. Also, testimonies by historians–corroborated by statements by senators and

representatives at the time–illustrate the influence eugenics and nativism held over the

enactments of the Acts of 1924 and 1929. Thus, the Act of 1929 was enacted when Congress

departed from its traditional methods of conceiving, drafting, and passing laws.

       Congress’s departure from its normal legislative procedures and its inconsistent reactions

to Mexican and Canadian immigrants suggest that discriminatory purpose was a motivating

factor behind the enactment of the Act of 1929.


                                               -17-
    Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 18 of 27 PageID #:60




       iv.     The Act of 1929 Bore More Heavily On Mexican And Latinx Individuals
               Than On Other Races.

       The final Arlington Heights factor used to identify discriminatory intent is whether the

impact of the official action “bears more heavily on one race than another.” Arlington Heights,

429 at 266 (citing to Washington v. Davis, 426 U.S. 229, 242 (1976).

       The Act of 1929 disparately impacted Mexicans. In the year following the passage of the

Act of 1929, the government prosecuted 7,001 border crossing crimes, and this number soared to

over 44,000 by 1939.14 Throughout these years, Mexican immigrants comprised of at least 84%

and up to 99% of those convicted. Based on these statistics, it is evident that the Act of 1929 had

a heavier impact on Mexicans than it did on other races or ethnicities. Under Arlington Heights,

such disparity indicates discriminatory intent.

       The analysis of the four Arlington Heights factors reveals that the Act of 1929 was

formulated and enacted by overtly racist legislators who wanted to control the immigration of

Mexican laborers during a unique period of time in American history when eugenics heavily

influenced Congress. It was part of a series of laws intended to restrict entry of non-white

immigrants, and it adversely impacted Mexicans and Latinx more heavily than it did any other

races or ethnicities. This evidence demonstrates that a racially discriminatory intent was at least

a motivating factor behind the original enactment of the illegal reentry statute and, thus,

unconstitutional under the Equal Protection Clause of the Fifth Amendment.

       B.      Supreme Court Precedent Dictates That the Discriminatory Purpose Behind
               the Act of 1929 is Imputed Upon Section 1326.


       14
         Annual Report of the Attorney General of the United States for the Fiscal Year 1939,
37; Kelly Lytle Hernandez, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging
in Los Angeles, 1771-1965, n.6, at 138-39 (UNC Press, 2017).

                                                  -18-
    Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 19 of 27 PageID #:61




       Supreme Court precedent establishes that the discriminatory purpose behind an original

law is relevant when determining the constitutionality of a derivative law. In Ramos, the Supreme

Court struck down a law allowing convictions by non-unanimous juries upon considering the

“racially discriminatory reasons that Louisiana and Oregon adopted their peculiar rules in the

first place.” Ramos, 140 S. Ct., at 1401 (emphasis in original). Even though both states had

recodified their laws, the Court held that recodification does not cure the laws’ original animus;

they held that for courts to accurately “assess the functional benefits” of a law, it must not

“ignore the very functions those rules were adopted to serve.” Id. at 1401 n.44. Similarly, in

Espinoza v. Montana Dep’t of Revenue, the Supreme Court invalidated a law that derived from a

“checkered tradition” of religious discrimination. See Espinoza v. Montana Dep’t of Revenue,

140 S. Ct. 2246, 2259 (2020). Concurring, Justice Alito stated, “Under Ramos, it emphatically

does not matter whether Montana readopted the no-aid provision for benign reasons. The

provision’s ‘uncomfortable past’ must still be ‘examined.’” Id. at 2273 (quoting Ramos, 140 S.

Ct., at 1396 n.44.)

       Even a law that currently serves a legitimate purpose can be held unconstitutional if

found to have been derived from a discriminatory law that disparately impacted a disfavored

group. In Hunter, the Supreme Court rejected Alabama’s argument that “events occurring in the

succeeding 80 years had legitimated” a racially motivated disenfranchisement provision. See

Hunter, 471 U.S. at 233. When a court determines that a law’s “original enactment was

motivated by a desire to discriminate . . . on account of race and the section continues to this day

to have that effect,” the court must conclude that the law “violates equal protection under

Arlington Heights.” Id.


                                                -19-
    Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 20 of 27 PageID #:62




       Section 1326 is a 1952 reenactment of the Act of 1929; however, as established by

Supreme Court precedent, later reenactments do not cleanse a law of the racial motivations that

fueled the original law. Ramos, 140 S. Ct., at 1401 n.44. This is especially the case for Section

1326, considering that it closely resembles the Act of 1929 and even contains some identical

language. Carrillo-Lopez, 2021 WL 3667330 at 5. Therefore, because the Act of 1929 was

motivated by a discriminatory intent, its virtually identical reenactment in Section 1326 also

violates Equal Protection.

       C.      The 1952 Reenactment of the Illegal Reentry Statute, 8 U.S.C. §1326, Was
               Also Motivated By Racial Animus.

       The racial animus which led to the original enactment of the illegal reentry statute in 1929

continued to influence Congress in the 1950s even though eugenics were partly debunked as a

result of WWII. Mexicans were derogatorily called “wetbacks” by legislators. In fact, in 1952,

Senate Bill 1851 called the “Wetback Bill” was introduced with the intent to target Mexican

immigrants by criminalizing the sheltering or transport of illegal immigrants at the southern

border. Ex. B at 17. Three months later, on June 27, 1952, Congress passed the McCarran-Walter

Act which reenacted the illegal reentry statute as 8 U.S.C. §1326.

       Congress not only failed to address the history of racial animus tainting Section 1326 but

perpetuated it. There was little debate leading up to the passage of the McCarran-Walter Act but

the intent was still clearly to keep the country as white as possible by regulating immigration.

For example, Representative John Wood of Idaho noted: “It seems to me the question of racial-

origins, though I am not a follower of Hitler, there is something to it. . . I believe that possibly

statistics would show that the Western European races have made the best citizens in America.”



                                                 -20-
    Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 21 of 27 PageID #:63




Ex. B at 19. Moreover, the only direct reference to Section 1326 during the debate related to a

letter from Attorney General Peyton Ford in which he asked for the phrase “found in” to be

added to Section 1326 to make it easier to prosecute “wetback[s],” the pejorative term repeatedly

used for Mexicans by legislators during the debate. Legislators obliged Ford’s request to add the

phrase “found in” making it easier to prosecute Mexicans crossing the southern border. See 8

U.S. C. §1326(a). Pat McCarran, a known racist, had previously noted “[w]e changed the

language a little to meet the wetback situation, which applies to the southern section of the

country.” Ex. B at 21. This not only perpetuated the legacy of racial animus tainting Section

1326 but enhanced the racially discriminatory intent behind its reenactment.

       The McCarran-Walter Act was so racist that President Truman vetoed it noting in was

part of “a mass of legislation which would perpetuate injustices of long standing against many

other nations of the world, hamper the efforts we are making to rally the men of East and West

alike to the cause of freedom, and intensify the repressive and inhumane aspects of our

immigration procedures. The price is too high, and in good conscience I cannot agree to pay it.”

Ex. B at 20 (emphasis added). Congress passed the bill over the presidential veto and the racist

McCarran-Walter Act, which reenacted Section 1326, became law.

       Congress made the racially discriminatory intent behind Section 1326 crystal clear by

creating an exception for Canadians called “pre-examination.” “In the case of those who had

entered the US illegally from Canada, largely European or of European descent, a pathway was

provided to normalize their status. Between 1935 and 1959, approximately 58,000 pre-

examination requests were made and most were also granted.” Ex. B at 22. By contrast,

Mexicans and Latinx individuals coming through the southern border in similar numbers were


                                                -21-
    Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 22 of 27 PageID #:64




being criminally prosecuted under the illegal entry and reentry statutes. Id. Creating an exception

for Canadians to avoid criminal prosecution and obtain lawful status denotes a significant

departure from the legislative procedure under Arlington Heights and demonstrates that Section

1326 was not about manner of entry as much as the race of the immigrants entering the country.

A law such as this one violates the Equal Protection guarantee of the Fifth Amendment and

should be held unconstitutional by this Court.

       D.      Section 1326 Disparately Impacts Mexicans and Latinx People.

       Section 1326 is unconstitutional under Arlington Heights because it disparately impacted

Mexicans and Latinx individuals. “Disproportionate impact is not irrelevant” when determining

the validity of a law under Equal Protection. Washington v. Davis, 426 U.S. 229, 96 S.Ct. 2040,

48 L.Ed.2d 597 (1976). “The test for disparate impact only requires evidence that Section 1326

‘bears more heavily on one race than another.’” Arlington Heights, 429 U.S. at 265-68. In other

words, Mr. Viveros must show that Section 1326 has a “disproportionate ‘adverse effects upon’

nonwhite immigrants.” Cook Cty., Illinois, 461 F. Supp. 3d at 796 (relying on Alston v. City of

Madison, 853 F.3d 901, 907 (7th Cir. 2017). This is a low threshold which can be shown

through statistical or comparative evidence. See generally Arlington Heights, 429 U.S. at 259-61.

       Mr. Viveros provides statistical evidence which demonstrates that the impact of Section

1326 “bears more heavily on one race than another.” There are no publicly available statistic

concerning the national origin of individuals prosecuted for Section 1326 today; however, the

overwhelming majority of Border Patrol arrests along the southern border are of individuals of

Mexican or Latinx origin. For example, over 97% of people apprehended at the border in 2000

were Mexican, and the number was steadily high with 86% in 2005, and 87% in 2010. Border


                                                 -22-
    Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 23 of 27 PageID #:65




Patrol Total Apprehensions by Mexico and Other Than Mexico, 2000-2019, attached hereto as

Exhibit N. Since 2010, due to increased migration from Central America, Mexican and Latinx

individuals combined constitute the overwhelming majority of border apprehensions. U.S.

Border Patrol Nationwide Apprehensions by Citizenship and Sector, 2007-2019, attached hereto

as Exhibit O. Similar disparities have been identified as sufficient disparate racial impact under

Arlington Heights. See, e.g., Ave. 6E Invs., LLC v. City of Yuma, 818 F.3d 493, 497 (9th Cir.

2016) (finding disparate impact when the city’s refusal to rezone mainly affected low-income

housing neighborhoods where 75% of residents were Hispanic); Arce v. Douglas, 793 F.3d 968,

978 (9th Cir. 2015) (finding disparate impact when a law targeting a program in which 90% of

enrollees were Hispanic); Metro. Hous. Dev. Corp. v. Vill. of Arlington Heights, 616 F.2d 1006,

1008 (7th Cir. 1980)(holding that the village's refusal to rezone had a discriminatory effect when

40% of the individuals eligible for low-income housing would be black although blacks

composed a far lower percentage of the total population in the village); U.S. v. City of Chicago,

549 F.2nd 415, 428 (7th Cir. 1977)(finding disproportionate impact when 34% of the total pool

of qualified patrol applicants were black or Hispanic but only 10% of those candidates were

hired).

          Further, as was the case under the Act of 1929, Section 1326 has caused mass

prosecutions that predominantly impacted Mexican and Latinx individuals. In 2018, Stephen

Miller, a senior policy advisor to President Trump, created the zero-tolerance policy toward

illegal entry and reentry, and then-Attorney General Jefferson Sessions took measures to have




                                                -23-
    Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 24 of 27 PageID #:66




such cases prosecuted by the Department of Justice.15 “In the last three years, the number of

Section 1326 cases has risen by nearly 40% to 22,077, making illegal reentry one of the most

common federal felonies today. See U.S. Sentencing Commission, Quick Facts: Illegal Reentry

Offenses, Fiscal Year 2019, attached hereto as Exhibit P. In leaked emails, Stephen Miller spoke

highly of the immigration policies during the 1920s, stating, “[t]his would seem a good

opportunity to remind people about the heritage established by Calvin Coolidge” between the Act

of 1924 and its repeal in 1965.”16 Similarly, Sessions expressed his fondness for the 1920s

immigration legislation when he suggested that the repeal of the Act of 1924 had primed the

country for a “surge fast past what the situation was in 1924.”17

       This is compelling data demonstrating how Section 1326 is disparately impacting

Mexican and Latinx individuals. Considering the evidence presented by Mr. Viveros identifying

the discriminatory intent imputed upon Section 1326, Section 1326's own discriminatory history,

and its persisting disparate impact, this Court should find Section 1326 in violation of Equal

Protection under Arlington Heights and, therefore, unconstitutional.

       E.      The Government Cannot Meet Its Burden To Show The Illegal Reentry
               Statute Would Have Been Enacted Absent Discriminatory Intent.


       15
         “Attorney General Sessions Delivers Remarks Discussing the Immigration Enforcement
Actions of the Trump Administration,” Dept. Of Justice, May 7, 2018, San Diego, California,
https://www.justice.gov/opa/speech/attorney-general-sessions-delivers-remarks-discussing-
immigration-enforcement-actions.
       16
        Katie Rogers & Jason DeParle, The White nationalist Websites Cited by Stephen Miller,
N.Y. Times (Nov. 18, 2019), https://www.nytimes.com/2019/11/18/us/politics/stephen-miller-
white-nationalism.html.
       17
         Adam Serwer, Jeff Sessions’ Unqualified Praise for a 1924 Immigration Law, Atlantic
(Jan 10, 2017), https://www.theatlantic.com/politics/archive/2017/01/jeff-sessions-1924-
immigration/512591/.

                                                -24-
    Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 25 of 27 PageID #:67




       The government cannot meet its burden to show the illegal reentry statute would have

enacted absent a discriminatory intent. Because Mr. Viveros has shown that the Act of 1929 was

enacted with a discriminatory intent and that Section 1326 continues to have a disparate racial

impact, the government has the burden to show that the Act of 1929 would have been passed

“even had the impermissible purpose not been considered.” Arlington Heights, 429 U.S. at 266-

68. However, the government cannot change the historical and legislative record demonstrating

that the illegal reentry statute was first conceived and enacted with the purpose of targeting the

deportation and prosecution of Mexican immigrants after the agricultural season was over. The

congressional record openly demonstrates the racial animus which pervades the illegal reentry

statute and other immigrations laws of the time. Unable to re-write history, the government

cannot meet its burden. Consequently, Section 1326 should be held in violation of the Equal

Protection guarantee of the Fifth Amendment and, thus, unconstitutional.

                                          CONCLUSION

       The evidence presented along with this motion sufficiently demonstrates the

discriminatory intent and disparate racial impact tainting the illegal reentry statute from its

inception until today. However, the Defendant stands ready to further develop this evidence and

the expert testimony of Professor Hernandez and Professor O’Brien at an evidentiary hearing or

at oral arguments. Hunt v. Cromartie, 526 U.S. 541, 545 (1999) (evidentiary hearings regarding

an Equal Protection challenge are appropriate). In light of the foregoing, the Court should find

the illegal reentry statute, 8 U.S.C. §1326, unconstitutional and dismiss Mr. Viveros’ indictment.




                                                 -25-
   Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 26 of 27 PageID #:68




Dated: Chicago, Illinois                Respectfully submitted,
       February 17, 2022

                                        /s/Carla I. Espinoza____________________
                                        CARLA I. ESPINOZA
                                        Attorney for Defendant
                                        ALFREDO VIVEROS-CHAVEZ




CARLA I. ESPINOZA
Attorney at Law
Chicago Immigration Advocates Law Offices
208 South LaSalle Street, Suite 1602
Chicago, Illinois 60604
(312)704-8000
Ill. Atty. Reg. No. 6308967




                                            -26-
    Case: 1:21-cr-00665 Document #: 24 Filed: 02/17/22 Page 27 of 27 PageID #:69




                                   CERTIFICATE OF SERVICE

   I hereby certify that on February 17, 2022, I electronically filed the foregoing document with the

Clerk of the Court for the United States District Court for the Northern District of Illinois, Eastern

Division, by using the CM/ECF system. All parties to this case are registered CM/ECF users and will

be served through the CM/ECF system.



Dated: February 17, 2022                               Respectfully submitted,
       Chicago, Illinois



                                                       /s/ Carla I. Espinoza
                                                       CARLA I. ESPINOZA
                                                       Attorney for Defendant
                                                       ALFREDO VIVEROS-CHAVEZ
CARLA I. ESPINOZA
Attorney at Law
Chicago Immigration Advocates Law Offices
208 South LaSalle Street, Suite 1602
Chicago, Illinois 60604
(312) 704-8000
Ill. Atty. No. 6308967




                                                -27-
